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  1   ALAN EISNER, State Bar #127119
      KESTENBAUM EISNER & GORIN LLP
  2   14401 Sylvan Street, Suite 112
      Van Nuys, CA 91401
  3   Phone:      (818) 781-1570
      Fax:        (818) 781-5033
  4   Email:      ae@keglawyers.com
  5   Attorney for Defendant
      LASHAWN ANDREA LYNCH
  6
  7                            UNITED STATES DISTRICT COURT
  8                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
  9                                    WESTERN DIVISION
 10
 11   UNITED STATES OF AMERICA                )     Case No.: CR 07-1048-VBF
                                              )
 12                    Plaintiff,             )     [Proposed] Order for Pre-Plea PSR Report
                                              )     Limited to Criminal History Score and
 13          v.                               )     Determination of Defendant
                                              )     Lashawn Andrea Lynch
 14                                           )
      LASHAWN ANDREA LYNCH                    )
 15                                           )
                       Defendant.             )
 16                                           )
                                              )
 17
 18         GOOD CAUSE APPEARING,
 19         IT IS HERBY ORDERED THAT the Probation Department shall prepare a pre-
 20   plea PSR for defendant LASHAWN ANDREA LYNCH for the purpose for providing the
 21   Court and the parties with an analysis of defendant’s Criminal History status under the
 22   United States Sentencing Guidelines. IT IS FURTHER ORDERED THAT the pre-plea
 23   PSR shall be made available to the court and the parties no late than December 12, 2008.
 24
 25   Dated: November         , 2008
 26                                               HON. VALERIE BAKER FAIRBANK
                                                  UNITED STATES DISTRICT JUDGE
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